          Case 4:07-cv-05944-JST Document 1838-1 Filed 08/08/13 Page 1 of 6




 1   COUNSEL LISTED ON SIGNATURE BLOCK
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 8
                         UNITED STATES DISTRICT COURT
 9
                       NORTHERN DISTRICT OF CALIFORNIA
10
                             SAN FRANCISCO DIVISION
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12   IN RE: CATHODE RAY TUBE (CRT)  )      Master File No. 3:07-cv-5944 SC
13   ANTITRUST LITIGATION           )
                                    )      MDL No. 1917
14                                  )
                                    )      STIPULATION AND [PROPOSED]
15                                  )      ORDER RELATING ACTION
                                    )
16                                  )
17   This document relates to:      )
                                    )
18   ALL INDIRECT PURCHASER ACTIONS )      The Honorable Samuel Conti
                                    )      Special Master Charles A. Legge (Ret.)
19                                  )
                                    )
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             STIPULATION AND [PROPOSED] ORDER RELATING ACTION
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 1          WHEREAS, the Indirect Purchaser Plaintiffs have filed a putative class action pending in

 2   the Northern District of California entitled Luscher, et al. v. Videocon Industries Limited, et al.,

 3   Case No. 3:13-cv-03234 EDL (“Luscher”), against Videocon Industries Limited, Technologies

 4   Displays Americas, LLC and Technologies Displays Mexicana, S.A. de CV, alleging violations

 5   of state antitrust, unfair competition and consumer protection laws relating to the cathode ray

 6   tube industry; and

 7          WHEREAS, the parties agree that Luscher should be related to this proceeding (the

 8   “CRT MDL”) because Luscher concerns substantially the same parties and events as those in

 9   the CRT MDL action, and duplication of labor and expense or conflicting results are likely if the

10   cases are conducted before different Judges;

11          The parties stipulate that Luscher shall be related to In re Cathode Ray Tube (CRT)

12   Antitrust Litigation, MDL 1917, Master File No. 3:07-cv-5944 SC.

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14   IT IS SO STIPULATED.

15
     Dated: August 7, 2013                          TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
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                 STIPULATION AND [PROPOSED] ORDER RELATING ACTION
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           Case 4:07-cv-05944-JST Document 1838-1 Filed 08/08/13 Page 3 of 6




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           Case 4:07-cv-05944-JST Document 1838-1 Filed 08/08/13 Page 4 of 6




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               STIPULATION AND [PROPOSED] ORDER RELATING ACTION
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     Dated: August 7, 2013                         BAKER BOTTS LLP
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16          Pursuant to Civil Local Rule 5-1(i)(3), the filer attests that concurrence in the filing of

17   this document has been obtained from each of the above signatories.

18   DATED: August 7, 2013, 2013                   By:/s/ Lauren R. Capurro
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21   PURSUANT TO STIPULATION, IT IS SO ORDERED.

22

23

24   DATED:_______________________
                                                                    Hon. Samuel Conti
25                                                              United States District Judge
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                STIPULATION AND [PROPOSED] ORDER RELATING ACTION
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